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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
        v.                                :             No. 21-cr-303 (ABJ)
                                          :
DEBORAH LYNN LEE,                         :
                                          :
                     Defendant.           :

                 GOVERNMENT’S MOTION TO DISMISS COUNT ONE

       The United States of America respectfully moves the Court pursuant to Federal Rule of

Criminal Procedure 48(a) to dismiss Count One of the First Superseding Indictment against

defendant Lee.



                                          Respectfully submitted,


                                                 MATTHEW M. GRAVES
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                                          By:    /s/ Alexander Diamond_____
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